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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


RENEE GIRON, individually and on behalf
of all others similarly situated,
                                                        Case No. 1:22-cv-00075
        Plaintiff,
                                                        Hon. Jorge L. Alonso
        v.
                                                        Magistrate Judge Maria Valdez
SUBARU OF AMERICA, INC.,

        Defendant.




DEFENDANT’S OPPOSED MOTION TO STAY PENDING RESOLUTION OF APPEAL

       Subaru of America, Inc. (“SOA”), by and through undersigned counsel, respectfully

requests that the Court stay the case in its entirety pending resolution of SOA’s appeal of the

Court’s Memorandum Opinion denying SOA’s Motion to Compel Arbitration (“Order,” ECF No.

34). In support thereof, SOA states as follows:

       1.       On November 21, 2022, the Court entered the Order denying SOA’s Motion to

Compel Arbitration. (ECF No. 34).

       2.       On December 20, 2022, SOA filed a timely Notice of Appeal pursuant to Section

16(a) of the Federal Arbitration Act (“FAA”). (ECF No. 39).

       3.       SOA’s Notice of Appeal divests the Court of jurisdiction, and the case must be

stayed pending resolution of the appeal. Griggs v. Provident Consumer Disc. Co., 459 U.S. 56,

58 (1982) (“The filing of a notice of appeal is an event of jurisdictional significance—it confers

jurisdiction on the court of appeals and divests the district court of its control over those aspects

of the case involved in the appeal.”).
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        4.      Controlling Seventh Circuit precedent holds that, “it is fundamental to a

hierarchical judiciary that ‘a federal district court and a federal court of appeals should not attempt

to assert jurisdiction over a case simultaneously.” Bradford-Scott Data Corp., Inc. v. Physician

Computer Network, Inc., 128 F.3d 504, 505 (7th Cir. 1997) (quoting Griggs, 459 U.S. at 58).

Therefore, “the notice of appeal accordingly brings [district court] proceedings to a halt unless the

appeal is frivolous.” Id. at 506.

        5.      A notice of appeal under Section 16(a) of the FAA “divests the district court of the

power to proceed with the aspects of the case that have been transferred to the court of appeals.”

Id. at 506; see also Lukis v. Whitepages Inc., 549 F. Supp. 3d 798, 802–03 (N.D. Ill. 2021) (granting

motion to stay pending resolution of appeal of decision denying motion to compel arbitration of

plaintiff’s claim).

        6.      As noted by the Seventh Circuit in Bradford:

        Arbitration clauses reflect the parties' preference for non-judicial dispute resolution,
        which may be faster and cheaper. These benefits are eroded and may be lost or even
        turned into net losses, if it is necessary to proceed in both judicial and arbitral
        forums, or to do this sequentially. The worst possible outcome would be to litigate
        the dispute, to have the court of appeals reverse and order the dispute arbitrated, to
        arbitrate the dispute, and finally to return to court to have the award enforced.
        Immediate appeal under § 16(a) helps to cut the loss from duplication. Yet
        combining the costs of litigation and arbitration is what lies in store if a district
        court continues with the case while an appeal under § 16(a) is pending. Cases of
        this kind are therefore poor candidates for exceptions to the principle that a
        notice of appeal divests the district court of power to proceed with the aspects of
        the case that have been transferred to the court of appeals.

Id. (emphasis added).

        7.      This is particularly true where an appeal pursuant to Section 16(a) of the FAA, like

here, raises the question of “whether the litigation may go forward in the district court” and “is

precisely what the court of appeals must decide.” Id.; see also Pine Top Receivables of Illinois,

LLC v. Banco De Seguoros Del Estado, 2013 WL 3776971, at *1 (N.D. Ill. 2013) (“The resolution



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of that issue will determine whether this case proceeds before us or an arbitrator. It would

undermine the purpose of the interlocutory appeal to allow Defendant to continue pursuing

discovery here, before the Seventh Circuit confirms that the case is properly before us. If the

Seventh Circuit decides to send this case to arbitration, we will have wasted the resources of both

the parties and this court on unnecessary and invalid proceedings.”).

       8.      SOA’s appeal is not frivolous, and the case should be stayed. There is no on-point

Seventh Circuit case foreclosing SOA’s arguments and there are several out-of-circuit opinions

that support SOA’s arguments. This Court’s Order interpreted the Seventh Circuit’s decision in

CCC Intelligent Solutions, Inc. v. Tractable Inc., 36 F.4th 721 (7th Cir. 2022) as holding that

whether a non-signatory can enforce an arbitration agreement that contains a broad delegation

clause is a question for the Court and not the arbitrator.

       9.      However, CCC Intelligent is not about delegation clauses. Indeed, the Seventh

Circuit’s decision in CCC Intelligent does not even mention a delegation clause or address whether

a delegation clause delegates enforceability by a non-signatory to the arbitrator. Id. Accordingly,

CCC Intelligent could not have held that non-signatory enforcement must be decided by the court

when the arbitration agreement in question contains a delegation provision. Because the Seventh

Circuit has yet to directly address this issue, SOA’s appeal is meritorious, not frivolous.

       10.     SOA’s meritorious appeal is also supported by out-of-circuit decisions, which have

addressed this issue and have adopted the position that a delegation clause delegates to the

arbitrator the question of whether a non-signatory can enforce the arbitration agreement. See, e.g.,

Blanton v. Domino's Pizza Franchising LLC, 962 F.3d 842, 851–52 (6th Cir. 2020); Swiger v.

Rosette, 989 F.3d 501, 507 (6th Cir. 2021); Brittania-U Nigeria, Ltd. v. Chevron USA, Inc., 866

F.3d 709, 715 (5th Cir. 2017); Contec Corp. v. Remote Sol., Co., 398 F.3d 205, 209 (2d Cir. 2005);




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Eckert/Wordell Architects, Inc. v. FJM Props. of Willmar, LLC, 756 F.3d 1098, 1100 (8th Cir.

2014).

         11.    The appeal is not frivolous, and the case must be stayed pending resolution of

SOA’s appeal. See, e.g., Lukis, 549 F. Supp. 3d at 802–03 (holding that appeal was frivolous

because the result was not “obvious” or defendant’s views were “wholly without merit.”); Pine

Top Receivables of Illinois, LLC, 2013 WL 3776971, at *2 (“We cannot conclude, on this slim

evidentiary basis, that Plaintiff's appeal is so utterly meritless as to be frivolous. While we rejected

Plaintiff's right to compel arbitration, we do not believe that Plaintiff filed this appeal in bad faith

or in the complete absence of colorable legal arguments.”).

         12.    Plaintiff opposes the relief sought in this Motion.

         WHEREFORE, for the reasons stated above, SOA respectfully requests that the Court stay

the action in its entirety pending resolution of SOA’s appeal of the Court’s Order denying SOA’s

Motion to Compel Arbitration. SOA requests such other, further relief this Court deems just.



DATED: December 28, 2022.                           Respectfully submitted,


                                                   /s/ Thomas E. Ahlering
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                               CERTIFICATE OF SERVICE

       I certify that on December 28, 2022, I electronically filed the foregoing document with the

Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to all

counsel of record who have consented to electronic notification.

                                                    /s/ Thomas E. Ahlering
                                                    Thomas E. Ahlering
